         Case 1:20-cv-03056-CM-OTW Document 56 Filed 10/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
GREAT MILL ROCK LLC, et al.,
                                                                 :
                                      Plaintiffs,                :   20-cv-3056 (CM) (OTW)
                                                                 :
                     -against-                                   :             ORDER
                                                                 :
STELLEX CAPITAL MANAGEMENT LP, et al.,                           :
                                                                 :
                                      Defendants.                :
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         ONA T. WANG, United States Magistrate Judge:

         The parties appeared for a conference on October 14, 2020. The Court ruled on the

record re: the motions at ECF 49 and ECF 50. The parties are directed to order a transcript of

the conference.

         The Clerk of Court is respectfully directed to close ECF 49 and 50.


         SO ORDERED.



                                                                     s/ Ona T. Wang
Dated: October 15, 2020                                                         Ona T. Wang
       New York, New York                                              United States Magistrate Judge
